                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 17-01813-MCW
WILLIAM JAY ADLER                                                                       Chapter 7
TRUDI BARBARA ADLER
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0970-2           User: colasonk               Page 1 of 2                   Date Rcvd: Apr 26, 2019
                               Form ID: pdf001              Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 28, 2019.
db/jdb         +WILLIAM JAY ADLER,    TRUDI BARBARA ADLER,     1616 N CENTRAL AVE # 1226,     PHOENIX, AZ 85004-1657
cr             +Provident Funding Associates, L.P.,      Zieve, Brodnax & Steele, LLP,
                 3550 N. Central Ave., Ste. 625,     PHOENIX, AZ 85012-0004
cr              Samuel Goldstein,    6 Morrison Dr.,     Old Bethpage, NY 11804-1124
cr              Susan M Goldstein,    6 Morrison Dr.,     Old Bethpage, NY 11804-1124
cr             +Toyota Motor Credit Corporation,     Malcolm Cisneros,     2112 Business Center Drive,
                 Irvine, CA 92612-7135
14419506        AMERICAN EXPRESS,    PO BOX 981535,    EL PASO TX 79998-1535
14419508        ARIZONA UROLOGY SPECIALISTS, PLLC,     PO BOX 52004,    DEPT. CODE 902,    PHOENIX AZ 85072-2004
14419509        AZ CENTER FOR HEMATTOLOGY/ONCOLOGY,      5750 W. THUNDERBIRD RD., STE C300,
                 GLENDALE AZ 85306-4666
14425137        American Express Centurion Bank,     c/o Becket and Lee LLP,     PO Box 3001,
                 Malvern PA 19355-0701
14421969        BANK OF AMERICA,    PO BOX 25118,    TAMPA FL 33622-5118
14419510      ++BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998-2238
               (address filed with court: BANK OF AMERICA,       PO BOX 982235,    EL PASO TX 79998-2235)
14419511       +CHASE FREEDOM,    P.O. BOX 94014,    PALATINE IL 60094-4014
14419512       +CITIBANK,    PO BOX 6500,    SIOUX FALLS SD 57117-6500
14419513       +FIRSTSOURCE ADVANTAGE, LLC,     205 BRYANT WOODS SOUTH,     BUFFALO NY 14228-3609
14419514        GREAT INDOORS,    PO BOX 6282,    SIOUX FALLS SD 57117-6282
14419516       +KERANIQUE,    PO BOX 1366,    HOBOKEN NJ 07030-1366
14419519        NEW YORK LIFE,    PO BOX 361076,    COLUMBUS OH 43236-1076
14419518       +NEW YORK LIFE,    2121 N. CALIFORNIA BLVD., STE. 550,      WALNUT CREEK CA 94596-7359
14714596        SAMUEL AND SUSAN GOLDSTEIN,     6 MORRISON DRIVE,    OLD BETHPAGE, NY 11804-1124
14419521        SCOTTSDALE NEUROLOGY PLLC,     9755 N 90TH ST., SUITE A200,     SCOTTSDALE AZ 85258-5070
14419523        SOUTHWEST SKIN SPECIALIST LTD.,     10200 N. 92ND ST., STE 205,     SCOTTSDALE AZ 85258-4536
14419524       +SYMBIUS,   2311 W. UTOPIA RD.,     PHOENIX AZ 85027-4167
14419517      ++TOYOTA MOTOR CREDIT CORPORATION,     PO BOX 8026,    CEDAR RAPIDS IA 52408-8026
               (address filed with court: LEXUS FINANCIAL SERVICES,        PO BOX 8026,
                 CEDAR RAPIDS IA 52409-8026)
14419526        WATLAND & ALLEN, PLLC,     393 E. PALM LN.,    C/O DWIGHT WATLAND,    PHOENIX AZ 85004-1532
14419527      ++WELLS FARGO,    P O BOX 9210,    DES MOINES IA 50306-9210
               (address filed with court: WELLS FARGO,       PO BOX 10438,    DES MOINES IA 50306)
14419528       +WELLS FARGO BANK, N.A.,     PO BOX 10335,    DES MOINES IA 50306-0335
14419529        WELLS FARGO BANK, N.A.,     PO BOX 6995,    PORTLAND OR 97228-6995
14419530       +WELLS FARGO SIGNATURE,     PO BOX 10438,    DES MOINES IA 50306-0438
14624168        Wells Fargo Bank, N.A.,     Wells Fargo Card Services,     PO Box 10438, MAC F8235-02F,
                 Des Moines, IA 50306-0438

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14419507       +E-mail/Text: bankruptcynotices@azdor.gov Apr 27 2019 01:54:56      ARIZONA DEPARTMENT OF REVENUE,
                 1600 W. MONROE,    PHOENIX AZ 85007-2650
14419515        E-mail/Text: cio.bncmail@irs.gov Apr 27 2019 01:55:25      INTERNAL REVENUE SERVICE,
                 PO BOX 7346,    PHILADELPHIA PA 19101-7346
14419520       +E-mail/Text: bknotifications@provident.com Apr 27 2019 01:57:09      PROVIDENT FUNDING,
                 PO BOX 5914,    SANTA ROSA CA 95402-5914
14602677       +E-mail/PDF: resurgentbknotifications@resurgent.com Apr 27 2019 01:52:26
                 PYOD, LLC its successors and assigns as assignee,    of Citibank, N.A.,
                 Resurgent Capital Services,    PO Box 19008,   Greenville, SC 29602-9008
14419522        E-mail/Text: bankruptcy@sdil.net Apr 27 2019 01:57:01      SOUTHWEST DIAGNOSTIC IMAGING,
                 2323 W. ROSE GARDEN LN.,    PHOENIX AZ 85027-2530
                                                                                             TOTAL: 5

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*             American Express Centurion Bank,   c/o Becket and Lee, LLP,    PO Box 3001,
                 Malvern, PA 19355-0701
14419525      ##TRUDI BARBARA ADLER,   20802 N. GRAYHAWK DR., #1184,    SCOTTSDALE AZ 85255-6437
14419531      ##WILLIAM JAY ADLER,   20802 N. GRAYHAWK DR., #1184,   SCOTTSDALE AZ 85255-6437
                                                                                             TOTALS: 0, * 1, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.      Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


      Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                            Desc
                           Imaged Certificate of Notice Page 1 of 8
District/off: 0970-2                  User: colasonk                     Page 2 of 2                          Date Rcvd: Apr 26, 2019
                                      Form ID: pdf001                    Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 28, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 26, 2019 at the address(es) listed below:
              JAMES F KAHN   on behalf of Joint Debtor TRUDI BARBARA ADLER james.kahn@azbk.biz,
               jfkpcecf@gmail.com,ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JAMES F KAHN   on behalf of Defendant TRUDI BARBARA ADLER james.kahn@azbk.biz,
               jfkpcecf@gmail.com,ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JAMES F KAHN   on behalf of Defendant WILLIAM JAY ADLER james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JAMES F KAHN   on behalf of Defendant Samuel Goldstein james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JAMES F KAHN   on behalf of Debtor WILLIAM JAY ADLER james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JAMES F KAHN   on behalf of Defendant Susan M Goldstein james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com,james.kahn@azbk.biz,KrystalAhart@cox.net
              JOSEPH JOHN TIRELLO, JR.    on behalf of Creditor   Provident Funding Associates, L.P.
               jtirello@zbslaw.com, majanel@zbslaw.com
              KRYSTAL MARIE AHART    on behalf of Debtor WILLIAM JAY ADLER Krystal.Ahart@azbk.biz,
               jfkpcecf@gmail.com,ahartkr68748@notify.bestcase.com,KrystalAhart@cox.net
              KRYSTAL MARIE AHART    on behalf of Joint Debtor TRUDI BARBARA ADLER Krystal.Ahart@azbk.biz,
               jfkpcecf@gmail.com,ahartkr68748@notify.bestcase.com,KrystalAhart@cox.net
              NATHAN FREDERICK JONES SMITH    on behalf of Creditor   Toyota Motor Credit Corporation
               nathan@mclaw.org, AZ_ECF@mclaw.org,mcecfnotices@ecf.courtdrive.com
              ROBERT A. MACKENZIE    on behalf of Trustee ROBERT A. MACKENZIE ram@ramlawltd.com,
               az26@ecfcbis.com
              ROBERT A. MACKENZIE    ram@ramlawltd.com, az26@ecfcbis.com
              SCOTT W. HYDER    on behalf of Defendant Susan M Goldstein Shyder@scotthyderlaw.com
              SCOTT W. HYDER    on behalf of Defendant Samuel Goldstein Shyder@scotthyderlaw.com
              SCOTT W. HYDER    on behalf of Creditor Susan M Goldstein Shyder@scotthyderlaw.com
              SCOTT W. HYDER    on behalf of Creditor Samuel Goldstein Shyder@scotthyderlaw.com
              SHAWN L. STONE    on behalf of Defendant Samuel Goldstein shawn.stone@stonelawaz.com,
               stonelawecf@gmail.com,R49167@notify.bestcase.com
              SHAWN L. STONE    on behalf of Defendant Susan M Goldstein shawn.stone@stonelawaz.com,
               stonelawecf@gmail.com,R49167@notify.bestcase.com
              TERRY A. DAKE   on behalf of Trustee ROBERT A. MACKENZIE tdake@cox.net
              TERRY A. DAKE   on behalf of Plaintiff Robert A MacKenzie tdake@cox.net
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 21




       Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                                  Desc
                            Imaged Certificate of Notice Page 2 of 8
52%(57$0$&.(1=,(
(DVW&DPSEHOO$YHQXH
68,7(
3+2(1,;$=

&KDSWHU7UXVWHH

                                    81,7('67$7(6%$1.5837&<&2857
                                          ',675,&72)$5,=21$

               ,QUH $'/(5:,//,$0-$<                                           &DVH1R 0&:
                      $'/(5758',%$5%$5$                                      
                                                                                
          'HEWRUV                                                             

                                   127,&(2)75867((
6),1$/5(3257$1'
                                     $33/,&$7,216)25&203(16$7,21
                                      $1''($'/,1(722%-(&71)5

                   3XUVXDQWWR)HG5%DQNU3DDQGISOHDVHWDNHQRWLFHWKDW
              52%(57$0$&.(1=,(                        WUXVWHHRIWKHDERYHVW\OHGHVWDWHKDVILOHGD
              )LQDO5HSRUWDQGWKHWUXVWHHDQGWKHWUXVWHH
VSURIHVVLRQDOVKDYHILOHGILQDOIHHDSSOLFDWLRQV
              ZKLFKDUHVXPPDUL]HGLQWKHDWWDFKHG6XPPDU\RI7UXVWHH
V)LQDO5HSRUWDQG$SSOLFDWLRQV
              IRU&RPSHQVDWLRQ

                     7KHFRPSOHWH)LQDO5HSRUWDQGDOODSSOLFDWLRQVIRUFRPSHQVDWLRQDUHDYDLODEOHIRU
               LQVSHFWLRQDWWKH2IILFHRIWKH&OHUNDWWKHIROORZLQJDGGUHVV
                     1257+),567$9(18(68,7(
                     3+2(1,;$5,=21$

              $Q\SHUVRQZLVKLQJWRREMHFWWRDQ\IHHDSSOLFDWLRQWKDWKDVQRWDOUHDG\EHHQDSSURYHGRU
              WRWKH)LQDO5HSRUWPXVWILOHDZULWWHQREMHFWLRQZLWKLQGD\VIURPWKHPDLOLQJRIWKLVQRWLFH
              7KHSURSRVHGGLVWULEXWLRQLVGHSHQGHQWRQWKH&RXUW
VUXOLQJRQWKHDOORZDQFHRI$GPLQLVWUDWLYH
              H[SHQVHVDGGLWLRQDO&RXUWFRVWVUHPDLQLQJFRQWHVWVRIFODLPVDQGDGGLWLRQDOLQWHUHVW

              2EMHFWLRQVPXVWEHLQZULWLQJDQGILOHGZLWKDUHTXHVWIRUDKHDULQJZLWKWKH&OHUN86
              %DQNUXSWF\&RXUW1RUWK)LUVW$YHQXH6XLWH3KRHQL[$UL]RQDWKHWUXVWHH
              5REHUW$0DF.HQ]LH(DVW&DPSEHOO$YHQXH6XLWH3KRHQL[$UL]RQDDQGWKH
              8QLWHG6WDWHV7UXVWHH1RUWK)LUVW$YHQXH6XLWH3KRHQL[$UL]RQD,IQR
              REMHFWLRQVDUHILOHGWKH&RXUWZLOODFWRQWKHIHHDSSOLFDWLRQVDQGWKHWUXVWHHPD\SD\GLYLGHQGV
              SXUVXDQWWR)5%3ZLWKRXWIXUWKHURUGHURIWKH&RXUW




     867)RUP1)5




   Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                           Desc
                        Imaged Certificate of Notice Page 3 of 8
              'DWH          %\ V52%(57$0$&.(1=,(
                                                             7UXVWHH
       52%(57$0$&.(1=,(
       (DVW&DPSEHOO$YHQXH
       68,7(
       3+2(1,;$=
       




867)RUP1)5




Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46   Desc
                     Imaged Certificate of Notice Page 4 of 8
52%(57$0$&.(1=,(
(DVW&DPSEHOO$YHQXH
68,7(
3+2(1,;$=

&KDSWHU7UXVWHH

                                       81,7('67$7(6%$1.5837&<&2857
                                             ',675,&72)$5,=21$

               ,QUH $'/(5:,//,$0-$<                                                              &DVH1R 0&:
                      $'/(5758',%$5%$5$                                                     
                                                                                               
          'HEWRUV                                                                            

                                    6800$5<2)75867((
6),1$/5(3257
                                    $1'$33/,&$7,216)25&203(16$7,21

                       7KH)LQDO5HSRUWVKRZVUHFHLSWVRI                                                 

                      DQGDSSURYHGGLVEXUVHPHQWVRI                                                        
                                                              
                      OHDYLQJDEDODQFHRQKDQGRI                                                        

                                                           %DODQFHRQKDQG                                               
                 &ODLPVRIVHFXUHGFUHGLWRUVZLOOEHSDLGDVIROORZV

  &ODLP          &ODLPDQW                                       &ODLP $OORZHG$PRXQW ,QWHULP3D\PHQWV                             3URSRVHG
  1R                                                         $VVHUWHG       RI&ODLP          WR'DWH                            3D\PHQW
                                                                   1RQH
                                                           7RWDOWREHSDLGWRVHFXUHGFUHGLWRUV                             
                                                           5HPDLQLQJEDODQFH                                             

                 $SSOLFDWLRQVIRUFKDSWHUIHHVDQGDGPLQLVWUDWLYHH[SHQVHVKDYHEHHQILOHGDVIROORZV
  5HDVRQ$SSOLFDQW                                                         7RWDO5HTXHVWHG ,QWHULP3D\PHQWV                    3URSRVHG
                                                                                                     WR'DWH                   3D\PHQW
7UXVWHH)HHV52%(57$0$&.(1=,(                                                                 
7UXVWHH([SHQVHV52%(57$0$&.(1=,(                                                              
$WWRUQH\IRU7UXVWHH)HHV7(55<$'$.(/7'                                                    
$WWRUQH\IRU7UXVWHH([SHQVHV7(55<$'$.(/7'                                                
$XFWLRQHHU([SHQVHV&XQQLQJKDP	$VVRFLDWHV,QF                                                  
&KDUJHV86%DQNUXSWF\&RXUW                                                                      
                   7KHEDODQFHRIIXQGVRQKDQGLQWKHHVWDWHPD\FRQWLQXHWRHDUQLQWHUHVWXQWLOGLVEXUVHG7KHLQWHUHVW
    HDUQHGSULRUWRGLVEXUVHPHQWZLOOEHGLVWULEXWHGSURUDWDWRFUHGLWRUVZLWKLQHDFKSULRULW\FDWHJRU\7KHWUXVWHHPD\
    UHFHLYHDGGLWLRQDOFRPSHQVDWLRQQRWWRH[FHHGWKHPD[LPXPFRPSHQVDWLRQVHWIRUWKXQGHU86&DRQ
    DFFRXQWRIWKHGLVEXUVHPHQWRIWKHDGGLWLRQDOLQWHUHVW

    867)RUP1)5


   Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                                                  Desc
                        Imaged Certificate of Notice Page 5 of 8
                               7RWDOWREHSDLGIRUFKDSWHUDGPLQLVWUDWLRQH[SHQVHV                     
                               5HPDLQLQJEDODQFH                                                              

                 $SSOLFDWLRQVIRUSULRUFKDSWHUIHHVDQGDGPLQLVWUDWLYHH[SHQVHVKDYHEHHQILOHGDVIROORZV
 5HDVRQ$SSOLFDQW                                                7RWDO5HTXHVWHG ,QWHULP3D\PHQWV               3URSRVHG
                                                                                           WR'DWH              3D\PHQW
                                                          1RQH
                               7RWDOWREHSDLGIRUSULRUFKDSWHUDGPLQLVWUDWLYHH[SHQVHV                    
                               5HPDLQLQJEDODQFH                                                             

               ,QDGGLWLRQWRWKHH[SHQVHVRIDGPLQLVWUDWLRQOLVWHGDERYHDVPD\EHDOORZHGE\WKH
          &RXUWSULRULW\FODLPVWRWDOLQJPXVWEHSDLGLQDGYDQFHRIDQ\GLYLGHQGWR
          JHQHUDOXQVHFXUHGFUHGLWRUV
                $OORZHGSULRULW\FODLPVDUH
 &ODLP          &ODLPDQW                                        $OORZHG$PRXQW ,QWHULP3D\PHQWV                   3URSRVHG
 1R                                                                     RI&ODLP          WR'DWH                  3D\PHQW
          ,17(51$/5(9(18(6(59,&(                                             
                                                   7RWDOWREHSDLGIRUSULRULW\FODLPV                      
                                                   5HPDLQLQJEDODQFH                                         
                7KHDFWXDOGLVWULEXWLRQWRZDJHFODLPDQWVLQFOXGHGDERYHLIDQ\ZLOOEHWKHSURSRVHG
          SD\PHQWOHVVDSSOLFDEOHZLWKKROGLQJWD[HVZKLFKZLOOEHUHPLWWHGWRWKHDSSURSULDWHWD[LQJ
          DXWKRULWLHV

              7LPHO\FODLPVRIJHQHUDOXQVHFXUHGFUHGLWRUVWRWDOLQJKDYHEHHQDOORZHGDQG
          ZLOOEHSDLG SUR UDWD RQO\DIWHUDOODOORZHGDGPLQLVWUDWLYHDQGSULRULW\FODLPVKDYHEHHQSDLGLQIXOO
          7KHWLPHO\DOORZHGJHQHUDOXQVHFXUHGGLYLGHQGLVDQWLFLSDWHGWREHSHUFHQW
          SOXVLQWHUHVWLIDSSOLFDEOH
                7LPHO\DOORZHGJHQHUDOXQVHFXUHGFODLPVDUHDVIROORZV
 &ODLP          &ODLPDQW                                        $OORZHG$PRXQW ,QWHULP3D\PHQWV                   3URSRVHG
 1R                                                                     RI&ODLP          WR'DWH                  3D\PHQW
          $0(5,&$1(;35(66&(1785,21                                           
                 %$1.
          $0(5,&$1(;35(66&(1785,21                                           
                 %$1.
          3<2'//&                                                            
          3<2'//&                                                            
          :(//6)$5*2&$5'6(59,&(6                                            
          :(//6)$5*2&$5'6(59,&(6                                            
          :(//6)$5*2&$5'6(59,&(6                                            




     867)RUP1)5


   Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                                   Desc
                        Imaged Certificate of Notice Page 6 of 8
          6$08(/$1'686$1*2/'67(,1                                     
                              7RWDOWREHSDLGIRUWLPHO\JHQHUDOXQVHFXUHGFODLPV                     
                              5HPDLQLQJEDODQFH                                                        


              7DUGLO\ILOHGFODLPVRIJHQHUDOXQVHFXUHGFUHGLWRUVWRWDOLQJKDYHEHHQ
          DOORZHGDQGZLOOEHSDLG SUR UDWD RQO\DIWHUDOODOORZHGDGPLQLVWUDWLYHSULRULW\DQGWLPHO\ILOHG
          JHQHUDOXQVHFXUHGFODLPVKDYHEHHQSDLGLQIXOO7KHWDUGLO\ILOHGFODLPGLYLGHQGLVDQWLFLSDWHG
          WREHSHUFHQWSOXVLQWHUHVWLIDSSOLFDEOH

                7DUGLO\ILOHGJHQHUDOXQVHFXUHGFODLPVDUHDVIROORZV
 &ODLP          &ODLPDQW                                       $OORZHG$PRXQW ,QWHULP3D\PHQWV             3URSRVHG
 1R                                                                    RI&ODLP          WR'DWH            3D\PHQW
                                                         1RQH
                              7RWDOWREHSDLGIRUWDUG\JHQHUDOXQVHFXUHGFODLPV                      
                              5HPDLQLQJEDODQFH                                                        


               6XERUGLQDWHGXQVHFXUHGFODLPVIRUILQHVSHQDOWLHVIRUIHLWXUHVRUGDPDJHVDQGFODLPV
          RUGHUHGVXERUGLQDWHGE\WKH&RXUWWRWDOLQJKDYHEHHQDOORZHGDQGZLOOEHSDLG
          SUR UDWD RQO\DIWHUDOODOORZHGDGPLQLVWUDWLYHSULRULW\DQGJHQHUDOXQVHFXUHGFODLPVKDYHEHHQSDLG
          LQIXOO7KHGLYLGHQGIRUVXERUGLQDWHGXQVHFXUHGFODLPVLVDQWLFLSDWHGWREHSHUFHQW
          SOXVLQWHUHVWLIDSSOLFDEOH
                6XERUGLQDWHGXQVHFXUHGFODLPVIRUILQHVSHQDOWLHVIRUIHLWXUHVRUGDPDJHVDQGFODLPV
          RUGHUHGVXERUGLQDWHGE\WKH&RXUWDUHDVIROORZV
 &ODLP          &ODLPDQW                                       $OORZHG$PRXQW ,QWHULP3D\PHQWV             3URSRVHG
 1R                                                                    RI&ODLP          WR'DWH            3D\PHQW
                                                         1RQH
                                                   7RWDOWREHSDLGIRUVXERUGLQDWHGFODLPV            
                                                   5HPDLQLQJEDODQFH                                   




     867)RUP1)5


   Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                            Desc
                        Imaged Certificate of Notice Page 7 of 8
                                          3UHSDUHG%\ V52%(57$0$&.(1=,(
                                                                         7UXVWHH

       52%(57$0$&.(1=,(
       (DVW&DPSEHOO$YHQXH
       68,7(
       3+2(1,;$=
       


       67$7(0(17 7KLV8QLIRUP)RUPLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ
       $FWH[HPSWLRQ&)5 DDSSOLHV




867)RUP1)5


Case 2:17-bk-01813-MCW Doc 123 Filed 04/26/19 Entered 04/28/19 22:07:46                                          Desc
                     Imaged Certificate of Notice Page 8 of 8
